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 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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11    GINA CARANO,                                    Case No. 2:24-cv-01009-SPG-SK
12                              Plaintiff,            ORDER DENYING DEFENDANT’S
              v.                                      MOTION TO DISMISS [ECF NO. 33]
13
      THE WALT DISNEY COMPANY,
14    LUCASFILM LTD. LLC, and
15    HUCKLEBERRY INDUSTRIES (US)
      INC.,
16
                                Defendants.
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19          Before the Court is Defendants The Walt Disney Company (“Disney”), Lucasfilm
20    Ltd. LLC (“Lucasfilm”), and Huckleberry Industries (US) Inc.’s (“Huckleberry,” and,
21    together with Disney and Lucasfilm, “Defendants”) Motion to Dismiss Plaintiff’s
22    Complaint for Failure to State a Claim. (ECF No. 33 (“Motion”)). Having considered the
23    parties’ submissions, oral arguments, the relevant law, and the record in this case, the Court
24    DENIES the Motion.
25    I.    BACKGROUND
26          A.     Factual Background
27          This case arises from Plaintiff Gina Carano’s (“Plaintiff”) termination from the
28    Disney+ show The Mandalorian due to posts she made on various social media platforms,



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 1    including X, formerly known as Twitter, and Instagram. (ECF No. 1 (“Complaint”) ¶ 5,
 2    21, 41–44). Defendants chose Plaintiff to play the character Cara Dune in the Star Wars
 3    series, and her employment became effective on September 18, 2018. (Id. ¶ 21). On
 4    February 10, 2021, however, Defendants abruptly terminated Plaintiff’s employment after
 5    she reposted content created by another social media user. (Id. ¶ 103). See also (Mot. at
 6    10). This lawsuit followed.
 7          After hiring Plaintiff, Defendants prominently featured her in promotional materials
 8    for the show. (Id. ¶ 22). Plaintiff’s contract for the first season designated her as a Guest
 9    Actor entitled to a minimum salary of $25,000 per episode in which she appeared. (Id.
10    ¶ 23). Given the popularity of the Cara Dune character, Plaintiff’s agent sought an increase
11    in her pay for the second season, but Defendants refused, offering her a one-time bonus of
12    $5,000 and the same $25,000 per episode minimum salary. (Id. ¶¶ 23–24).
13          During the summer of 2020, Plaintiff began receiving frequent messages on social
14    media “to support various causes, adopt various ideologies, and hold herself out in certain
15    ways.” (Id. ¶ 45). In particular, social media users urged Plaintiff to publicly support the
16    Black Lives Matter movement, including by endorsing certain slogans associated with that
17    movement, and to indicate her preferred pronouns in her social media profiles. (Id. ¶¶ 47,
18    59). When Plaintiff did not do so, members of the public accused her of being racist and
19    levied various epithets at her, including one social media user who called her a “transphobic
20    bitch.” (Id. ¶ 46). Although one of Plaintiff’s castmates supported her on social media,
21    Defendants did not intervene on her behalf. (Id. ¶ 54).
22          On September 5, 2020, Plaintiff criticized certain COVID-19 policies requiring
23    businesses and churches to remain closed while allowing public protests. (Id. ¶ 57).
24    Plaintiff alleges that she was attacked for these views and that Defendants made known
25    their disapproval of Plaintiff’s position. (Id. ¶¶ 57–58). One week later, on September 12,
26    2020, frustrated by social media users’ continual comments and critiques regarding her
27    choice not to include her preferred pronouns in her Twitter account biography, Plaintiff put
28    the words “boop/bop/beep” in her profile, referencing “sounds a droid would make.” (Id.



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 1    ¶ 65). Plaintiff deleted this material “a short time” after originally posting it and shared
 2    that she had spoken with her castmate Pedro Pascal (“Pascal”) about why other individuals
 3    listed their pronouns in their biographies. (Id. ¶¶ 65–66).
 4          At some point in time, Defendants began “demanding an explanation” from Plaintiff
 5    and criticized her for not “embracing” social media users’ demands that she list her
 6    pronouns. 1 (Id. ¶ 75). Defendants engaged Plaintiff in “long phone calls,” “constant
 7    meetings,” and what Plaintiff refers to as a “‘re-education’ program.” (Id.). As part of
 8    these communications, Defendants required Plaintiff to meet with representatives of the
 9    Gay & Lesbian Alliance Against Discrimination. (Id. ¶ 76). Plaintiff did so gladly,
10    reviewed several documentaries that the representatives asked Plaintiff to watch, and the
11    representatives provided positive feedback to Defendants. (Id.). Not satisfied, however,
12    Defendants continued to demand that Plaintiff issue a public apology, including by asking
13    Plaintiff’s publicist to “force [Plaintiff] to issue a statement admitting to mocking or
14    insulting an entire group of people.” (Id. ¶ 77). Plaintiff refused to issue Defendants’
15    proposed public statement, and Defendants rejected her alternative proposal. (Id. ¶ 78).
16    Plaintiff alleges that Defendants “increased their harassment” of her after this point. (Id.).
17          Interested in showing her “good faith,” Plaintiff sought to donate to a GoFundMe
18    page purportedly created to support the transgender community. (Id. ¶ 79). Upon visiting
19    the website, however, she read that the page had apparently been created by a Lucasfilm
20    employee and described Plaintiff as “a ‘bigoted’ actress.” (Id.). When Plaintiff brought
21    this website to Lucasfilm’s attention, Lucasfilm denied that any of its employees had
22    created the GoFundMe account. (Id. ¶ 80). Shortly thereafter, the page was altered to
23    instead describe Plaintiff as “ignorant” and its organizer was no longer identified as a
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        This portion of the Complaint alleges that Defendants criticized Plaintiff “for not
27    embracing what some see as mandatory solidarity with a vocal element of the transgender
28    activist community,” which, from the pleadings, appears to be the act of indicating her
      pronouns. (Id. ¶ 75).


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 1    Lucasfilm employee. (Id.). To Plaintiff’s knowledge, no Lucasfilm employee was ever
 2    disciplined for this conduct. (Id.).
 3          Defendants informed Plaintiff’s publicist that they would require Plaintiff to
 4    participate in a videoconference with Lucasfilm President Kathleen Kennedy (“Kennedy”)
 5    and 45 of Defendants’ employees who identified as part of the LGBTQ+ community as a
 6    “litmus test.” (Id. ¶ 81). Although several of these employees had contributed to the above-
 7    mentioned GoFundMe account, Defendants encouraged Plaintiff’s publicist to describe
 8    them as “a friendly group.” (Id. ¶ 82). Plaintiff alleges that, in Defendants’ view, she “had
 9    to ‘grow’ and ‘learn.’” (Id. ¶ 83). Until Defendants knew “where her mindset [was]
10    currently” regarding pronouns, Defendants would not allow her to speak to the media and
11    would not include her in promotional materials. (Id.). Plaintiff declined the proposed
12    meeting but offered to take a smaller group of five or six employees to dinner for a face-
13    to-face discussion, a counteroffer to which Defendants did not agree. (Id. ¶ 84). After
14    Plaintiff suggested she might need legal assistance to resolve the dispute, Defendants
15    instead required Plaintiff to undergo media training. (Id. ¶ 85).
16          Plaintiff also faced backlash over statements she made on social media regarding the
17    2020 election process. (Id. ¶¶ 88–89). As an example, Plaintiff’s Complaint includes a
18    November 5, 2020, social media post in which Plaintiff stated that “[w]e need to clean up
19    the election process” and called for laws “that protect us against voter fraud,” as well as
20    for a voter identification requirement. (Id. ¶ 88). Plaintiff alleges that, instead of defending
21    her, Defendants “express[ed] dismay that [Plaintiff’s] political views did not match what
22    they expected from their stars.” (Id. ¶ 93).
23          All the while, Plaintiff continued to promote The Mandalorian, and by early
24    November 2020, she was responsible for over half of the talent engagement on social media
25    relating to the show’s second season. (Id. ¶ 25). On November 21, 2020, after Plaintiff
26    made her first appearance on the second season, Lucasfilm employee Lynne Hale (“Hale”)
27    emailed Plaintiff to congratulate her on the episode’s success. (Id. ¶ 26). Around that time,
28    in October or November 2020, The Mandalorian’s creator and Executive Producer Jon



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 1    Favreau (“Favreau”) told Plaintiff that her “life [was] about to change.” (Id. ¶ 27). Disney
 2    had approved a spinoff of the series to be entitled Rangers of the New Republic, and
 3    Plaintiff would be one of the lead characters. (Id.). As a lead character, Plaintiff would
 4    have been a series regular. (Id. ¶ 29). Series regulars in other Star Wars spinoffs received
 5    longer-term contracts with base compensation beginning at $150,000 to $250,000 per
 6    episode, a substantial increase from her then-current pay. (Id.). Favreau also represented
 7    that Plaintiff would be part of a series of Star Wars movies based off of Disney+ shows
 8    including The Mandalorian. (Id. ¶ 114). In December 2020, Kennedy confirmed the
 9    production of the Rangers of the New Republic spinoff series at Disney Investor Day. (Id.
10    ¶ 28).
11             On January 8, 2021, Hale inadvertently sent Plaintiff an internal email containing
12    Defendants’ discussions of a hashtag calling on Disney to “#FireGinaCarano,” social
13    media activity which Defendants monitored. (Id. ¶ 95). The email thread first pertained
14    to backlash to a statement that Disney Chief Executive Officer (“CEO”) Bob Chapek
15    (“Chapek”) made after the January 6, 2021, insurrection. (Id. ¶ 96). Much of this criticism
16    concerned Disney’s business with China, but certain members of the public also called on
17    Disney to fire Plaintiff. (Id. ¶¶ 96–97). In the email thread, Disney quickly focused on
18    Plaintiff rather than its business dealings in China and began discussing preparing a report
19    on Plaintiff. (Id. ¶ 97). Plaintiff alleges that Chapek intended to use Carano to deflect
20    attention from “his failed leadership as Disney’s CEO.” (Id. ¶ 98). On January 12, 2021,
21    Plaintiff posted an interview in which she discussed the controversy concerning her social
22    media activity. (Id. ¶ 99). Around this time, on January 22, 2021, the official Star Wars
23    Twitter account issued a statement of support for another employee who faced criticism
24    for certain statements she made concerning racism. (Id. ¶ 100).2
25             On February 10, 2021, Plaintiff shared a social media post that questioned the
26    difference between those who “hat[ed] someone for their political views” and citizens in
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28      The Court takes judicial notice of this account’s publicly available post. Star Wars, X
      (January 22, 2021, 7:10 PM), https://x.com/starwars/status/1352815991521067008.


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 1    Nazi Germany who hated their neighbors “simply for being Jews.” (Id. ¶ 102). As relevant
 2    to this action, Plaintiff’s castmate Carl Weathers had previously shared similar messages
 3    on social media, although Plaintiff alleges that his posts “were interpreted to attack
 4    Republicans” and were accordingly acceptable to Defendants.                (Id. ¶ 106–07).
 5    Additionally, Pascal, who plays the titular character in The Mandalorian, previously made
 6    statements on social media comparing former President Donald Trump, his administration,
 7    and his supporters to Nazis. (Id. ¶¶ 131–34). Pascal also posted an image of Disney-owned
 8    Muppet characters with a pride flag and the messages “Black Trans Lives Matter” and
 9    “Defund the Police.” (Id. ¶ 136). Defendants did not comment on any of these posts, nor
10    did they discipline Pascal, require him to review documentaries or attend meetings with
11    individuals with contrary points of view, pressure him to apologize for these posts, or refer
12    to his social media activity as “abhorrent.” (Id. ¶¶ 135, 137). Similarly, Star Wars actor
13    Mark Hamill (“Hamill”) made various statements on social media drawing similarities
14    between the Republican party under Trump and the Nazi party without objection from
15    Defendants. (Id. ¶¶ 138, 140–41). Indeed, Hamill made a guest appearance during the
16    final episode of The Mandalorian’s second season.3 (Id. ¶ 143).
17          In response to Plaintiff’s post, however, Defendants terminated Plaintiff that day.
18    (Id. ¶ 30). Defendants released a statement characterizing her posts as “abhorrent and
19    unacceptable” because they “denigrat[ed] people based on their cultural and religious
20    identities.” (Id. ¶ 31). Chapek further explained that Defendants fired Plaintiff “because
21    she didn’t align with Company values.” (Id. ¶ 34). Defendants also canceled production
22    of the Rangers of the New Republic series. (Id. ¶ 113). After her termination and
23    Defendants’ statement, members of the media as well as stalkers came to Plaintiff’s home,
24    causing her to fear for her personal safety. (Id. ¶ 112).
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        As a final point of comparison, Plaintiff additionally highlights Defendants’ decision to
28    rehire director James Gunn one year after terminating him for social media posts about
      rape and child molestation. (Id. ¶ 144).


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 1          Plaintiff also alleges that Defendants engaged in a “smear campaign” against her
 2    following her termination. (Id. ¶ 117). For example, in November 2020, Plaintiff filmed
 3    an episode of Running Wild with Bear Grylls (“Running Wild”), a show that aired on
 4    Disney-owned NatGeo. (Id.). After terminating Plaintiff’s employment, Disney removed
 5    this episode from Running Wild’s lineup. (Id. ¶ 118). After protests from fans and
 6    intervention by Bear Grylls, Disney reversed this decision but removed Plaintiff’s name
 7    and likeness from promotional materials as well as the episode’s listing. (Id. ¶¶ 119–20).
 8    Following her termination from The Mandalorian and Defendants’ statement, Plaintiff’s
 9    agent and entertainment attorney both dropped her as a client without explanation. (Id.
10    ¶ 121). Plaintiff also immediately stopped receiving invitations to read for new movies,
11    attend high-profile events, and promote her work. (Id. ¶ 122).
12          B.     Procedural History
13          Plaintiff filed suit in this Court on February 6, 2024, asserting claims for wrongful
14    discharge under California Labor Code §§ 1101 et seq. and California Labor Code § 98.6,
15    as well as a sex discrimination claim under California Government Code § 12940. (Id.
16    ¶¶ 145–82). On April 9, 2024, Defendants moved to dismiss on the grounds that Plaintiff’s
17    claims are barred by Defendants’ First Amendment rights. (Mot.). Plaintiff timely
18    opposed, (ECF No. 37 (“Opposition”)), and Defendants timely replied in support of their
19    Motion, (ECF No. 38 (“Reply”)).
20    II.   LEGAL STANDARD
21          Under Rule 8(a)(2) of the Federal Rules of Civil Procedure, a complaint must include
22    “a short and plain statement of the claim showing that the pleader is entitled to relief.” Fed.
23    R. Civ. P. 8(a)(2). A complaint that fails to meet this standard may be dismissed pursuant
24    to Federal Rule of Civil Procedure 12(b)(6). “Dismissal under Rule 12(b)(6) is proper
25    when the complaint either (1) lacks a cognizable legal theory or (2) fails to allege sufficient
26    facts to support a cognizable legal theory.” Somers v. Apple, Inc., 729 F.3d 953, 959 (9th
27    Cir. 2013). To survive a 12(b)(6) motion, the plaintiff must allege “enough facts to state a
28    claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570



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 1    (2007). “A claim has facial plausibility when the plaintiff pleads factual content that allows
 2    the court to draw the reasonable inference that the defendant is liable for the misconduct
 3    alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is not
 4    akin to a probability requirement, but it asks for more than a sheer possibility that a
 5    defendant has acted unlawfully.” Id. (internal quotation marks and citation omitted).
 6          When ruling on a Rule 12(b)(6) motion, the Court “accept[s] factual allegations in
 7    the complaint as true and construe[s] the pleadings in the light most favorable to the
 8    nonmoving party.” Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031
 9    (9th Cir. 2008). The Court is “not required to accept as true allegations that contradict
10    exhibits attached to the Complaint or matters properly subject to judicial notice,” nor must
11    it accept “allegations that are merely conclusory, unwarranted deductions of fact, or
12    unreasonable inferences.” Seven Arts Filmed Ent., Ltd. v. Content Media Corp. PLC, 733
13    F.3d 1251, 1254 (9th Cir. 2013) (internal quotation marks and citation omitted).
14          Although a defendant may not ordinarily raise affirmative defenses as a basis to
15    dismiss a complaint, the Ninth Circuit recognizes an exception to this general rule where
16    “the defense raises no disputed issues of fact.” Scott v. Kuhlmann, 746 F.2d 1377, 1378
17    (9th Cir. 1984). “[A] complaint may be dismissed when the allegations of the complaint
18    give rise to an affirmative defense that clearly appears on the face of the pleading.” Boquist
19    v. Courtney, 32 F.4th 764, 774 (9th Cir. 2022). Dismissal is appropriate, however, “[o]nly
20    when the plaintiff pleads itself out of court” by “admit[ting] all the ingredients of an
21    impenetrable defense.” Durnford v. MusclePharm Corp., 907 F.3d 595, 604 n.8 (9th Cir.
22    2018) (citation omitted).
23          Where dismissal is appropriate, a court should grant leave to amend unless the
24    plaintiff could not possibly cure the defects of the pleading. Knappenberger v. City of
25    Phoenix, 566 F.3d 936, 942 (9th Cir. 2009).
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 1    III.   DISCUSSION
 2           A.    California’s Laws Protecting Employees
 3           California law provides robust protections for employees’ political activity. Under
 4    California law, employers may not “make, adopt, or enforce any rule, regulation, or policy”
 5    either (a) “[f]orbidding or preventing employees from engaging or participating in politics
 6    or from becoming candidates for public office” or (b) “[c]ontrolling or directing, or tending
 7    to control or direct the political activities or affiliations of employees.” Cal. Lab. Code
 8    § 1101. California law further provides that “[n]o employer shall coerce or influence or
 9    attempt to coerce or influence his employees through or by means of threat of discharge or
10    loss of employment to adopt or follow or refrain from adopting or following any particular
11    course or line of political action or political activity.” Cal. Lab. Code § 1102. Employees
12    injured in violation of these provisions may sue for damages under California Labor Code
13    § 1105. Separately, California Labor Code § 98.6 provides that employers “shall not
14    discharge an employee or in any manner discriminate, retaliate, or take any adverse action
15    against any employee . . . because the employee . . . engaged in any conduct delineated in
16    this chapter, including the conduct described in . . . Chapter 5 (commencing with Section
17    1101).” Cal. Lab. Code § 98.6(a). This provision also provides that an employee so treated
18    “shall be entitled to reinstatement and reimbursement for lost wages and work benefits
19    caused by those acts of the employer.” Cal. Lab. Code § 98.6(b)(1). Additionally,
20    California’s Fair Employment and Housing Act (“FEHA”) provides that “[i]t is an
21    unlawful employment practice” for an employer to “discharge” or “discriminate against
22    [an employee] in compensation or in terms, conditions, or privileges of employment,”
23    based on the employee’s sex, among other characteristics. Cal. Gov’t Code § 12940(a).
24           Here, Defendants assume, without conceding, that Plaintiff’s Complaint adequately
25    states claims for wrongful discharge motivated by her political activity and for unlawful
26    sex discrimination under the laws described above. (Mot. at 12 n.2). Defendants assert,
27    however, that Plaintiff’s claims are “barred by the First Amendment.” (Id. at 7). Although
28    Defendants do not appear to contest the facial constitutionality of California Labor Code



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 1     §§ 98.6 and 1105 or of FEHA, 4 Defendants contend that, as “entities that do create speech
 2     products,” they enjoy the right to make “decisions about what to say in [their] own art and
 3     how to say it,” including by selecting the individuals who perform or otherwise create that
 4     art. (Id. at 9 (emphasis in original)). In these circumstances, Defendants argue, imposition
 5     of liability for wrongful discharge and sex discrimination would unconstitutionally burden
 6     Defendants’ “right to protect [their] own speech from association with [Plaintiff’s] high-
 7     profile, controversial speech.” (Id. at 12).
 8           B.     The First Amendment’s Protection of Private Speech and Association
 9           The First Amendment of the United States Constitution, which applies to states
10     under the Fourteenth Amendment’s Due Process Clause, Packingham v. North Carolina,
11     582 U.S. 98, 101 (2017), provides that “Congress shall make no law . . . abridging the
12     freedom of speech, or of the press,” U.S. Const. amend. I. “[T]he First Amendment’s
13     protections apply equally to non-criminal and criminal proceedings,” Am.-Arab Anti-
14     Discrimination Comm. v. Reno, 70 F.3d 1045, 1065 (9th Cir. 1995), including where a state
15     attempts to impose liability through civil law, New York Times Co. v. Sullivan, 376 U.S.
16     254, 277 (1964).5       “[T]he guarantee[] of free speech . . . guard[s] only against
17     encroachment by the government and erect[s] no shield against merely private conduct
18     . . . .” Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 566 (1995)
19     (internal quotation marks, citation, and alteration in original omitted).
20           The First Amendment protects not only “political and ideological speech” but speech
21     occurring in entertainment as well. “[M]otion pictures, programs broadcast by radio and
22     television, and live entertainment, such as musical and dramatic works fall within the First
23     Amendment guarantee.” Schad v. Borough of Mount Ephraim, 452 U.S. 61, 65 (1981).
24
       4
25       See (id. at 8 (stating that these provisions may properly apply to “employers or employees
26     not engaged in creating speech products.”)).
       5
         It is “well-established,” however, that “generally applicable laws do not offend the First
27     Amendment simply because their enforcement” have incidental effects on speakers’ First
28     Amendment rights. Cohen v. Cowles Media Co., 501 U.S. 663, 669 (1991) (collecting
       cases).


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 1     Further, that various forms of media “are published and sold for profit does not prevent
 2     them from being a form of expression whose liberty is safeguarded by the First
 3     Amendment.” Joseph Burstyn, Inc. v. Wilson, 343 U.S. 495, 501 (1952).
 4           In addition to the First Amendment’s explicit free speech guarantee, “implicit in the
 5     right to engage in activities protected by the First Amendment” is “a corresponding right
 6     to associate with others in pursuit of a wide variety of political, social, economic,
 7     educational, religious, and cultural ends.” Roberts v. U.S. Jaycees, 468 U.S. 609, 622
 8     (1984). “Government actions that may unconstitutionally burden” associational freedom
 9     “may take many forms.” Boy Scouts of Am. v. Dale, 530 U.S. 640, 648 (2000). A
10     regulation that forces a group “to accept members it does not desire” is a clear example of
11     the type of “intrusion into the internal structure or affairs of an association” that may burden
12     that organization’s constitutional freedom to associate. Roberts, 468 U.S. at 623. In Dale,
13     for example, the Supreme Court held that applying a New Jersey public accommodation
14     law in a way that required the Boy Scouts’ to readmit as a member and assistant
15     scoutmaster Dale, “a gay rights activist” who was “open and honest about [his] sexual
16     orientation,” violated the Boy Scouts’ First Amendment freedom of expressive association
17     because it placed a significant burden on the Boy Scouts’ desire not to “promote
18     homosexual conduct as a legitimate form of behavior” when the Boy Scouts had taken “the
19     official position . . . that avowed that homosexuals were not to be Scout Leaders.” Id. at
20     650-52, 59.
21           “The right to associate for expressive purposes is not, however, absolute.” Roberts,
22     468 U.S. at 623. Where a facially viewpoint-neutral law is narrowly tailored to serve
23     “compelling state interests,” the state may be able to justify any derivative impact such a
24     law has on a party’s associational freedoms.           Id. at 623–24, 26–27 (rejecting an
25     organization’s claim a Minnesota antidiscrimination law requiring the organization to
26     accept women as full voting members “impose[d] any serious burdens on the male
27     members’ freedom of expressive association.”).
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 1           Here, Defendants urge the Court to read Dale together with Hurley. In Hurley, the
 2     Supreme Court held a state court’s order requiring private organizers of a Boston Saint
 3     Patrick’s Day parade to allow a group of marchers who wished to express their “pride in
 4     their Irish heritage as openly gay, lesbian, and bisexual individuals” to march in the parade
 5     “carrying [their] own banner” violated the First Amendment because the order “essentially
 6     requir[ed]” the private organizers “to alter the expressive content of their parade.” Hurley,
 7     515 U.S. at 560–61, 72-73, 76. Defendants contend the two cases together “establish that
 8     the state cannot force an employer engaged in expressive activity to express its message
 9     through speakers who, in the employer’s view, would impair the employer’s ability to
10     convey its own preferred message.” (Mot. at 13–14).
11           As an initial matter, neither Dale nor Hurley arose in the employment context.
12     Additionally, Dale and Hurley concern distinct First Amendment rights. The Supreme
13     Court in Dale evaluated the scope of the “freedom not to associate” recognized in Roberts,
14     including the examination of “whether a group is protected by the First Amendment’s
15     expressive associational right” in the first instance. Dale, 530 U.S. at 648 (quoting Roberts,
16     468 U.S. at 623). Hurley, in contrast, concerned the general “principle of autonomy to
17     control one’s own speech” free from government interference. Hurley, 515 U.S. at 574.
18     See also, e.g., 303 Creative LLC v. Elenis, 600 U.S. 570, 586 (2023) (recognizing First
19     Amendment protections for “pure speech” and “acts of expressive association”). The Court
20     accordingly examines Defendants’ claims under the framework set forth for each context,
21     beginning with Defendants’ right to expressive association.
22                  1.     Whether Defendants’ Expressive Association Rights Bar Plaintiff’s
23                         Suit
24           Where an organization claims protection under “the First Amendment’s expressive
25     associational right,” a court “must determine whether the group engages in ‘expressive
26     association.’” Dale, 530 U.S. at 648. Although “[t]he First Amendment’s protection of
27     expressive association is not reserved for advocacy groups,” a group seeking such
28     protection must, by its associational choices, “engage in some form of expression, whether



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 1     it be public or private.” Id. The court then evaluates whether the challenged government
 2     action “unconstitutionally infringe[s] upon” the organization’s expressive associational
 3     rights. Roberts, 468 U.S. at 622. A party’s claim that application of a generally applicable
 4     law “would infringe [its] constitutional rights of expression or association” must be
 5     supported by some showing that compliance with the law would somehow “inhibit[]” its
 6     expressive association. Hishon v. King & Spalding, 467 U.S. 69, 78 (1984) (concluding
 7     that a law firm failed to show that consideration of female lawyer for partnership, as
 8     required by Title VII, would inhibit the firm’s ability to contribute to legal and societal
 9     developments).
10           In Dale, for example, the Supreme Court concluded that the Boy Scouts engaged in
11     expressive activity because it sought to instill certain values in its youth members “by
12     having its adult leaders spend time with” and instruct those members. Dale, 530 U.S. at
13     649. Two of the values the Boy Scouts claimed to champion were “the values represented
14     by the terms ‘morally straight’ and ‘clean’”; the Boy Scouts represented “that it ‘teach[es]
15     that homosexual conduct is not morally straight’” and took “the official position . . . that
16     avowed homosexuals were not to be Scout leaders.” Id. at 650–52 (citation omitted;
17     alteration in original).    The Supreme Court concluded that enforcing New Jersey
18     antidiscrimination law and requiring the Boy Scouts to allow Dale, who was openly gay,
19     to serve as an assistant scoutmaster would have forced the organization to send a message
20     contrary to its values. Id. at 653.
21           In contrasts, in Roberts, the Supreme Court rejected the United States Jaycees’ (the
22     “Jaycees”) claim that requiring the organization to accept female members under a
23     Minnesota antidiscrimination law “impose[d] any serious burdens on the male members’
24     freedom of expressive association.” Roberts, 468 U.S. at 626. There, although “the
25     national and local levels of the organization have taken public positions on a number of
26     diverse issues,” the Jaycees had failed to establish that admitting women “as full voting
27     members [would] impede the organization’s ability to engage in these protected activities
28     or to disseminate its preferred views.” Id. at 626–27. The Supreme Court further



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 1     concluded that, “even if enforcement of the Act causes some incidental abridgment of the
 2     Jaycees’ protected speech, that effect is no greater than is necessary to accomplish the
 3     State’s legitimate purposes.” Id. at 628.
 4           Here, although Defendants indisputably engage in expressive activity—including,
 5     but certainly not limited to, producing and disseminating The Mandalorian—they have
 6     failed to establish that they engage in expressive association. Furthermore, at this stage in
 7     the litigation, the Court cannot conclude, as Defendants urge it to, that Plaintiff’s continued
 8     employment by Defendants would inhibit or intrude upon Defendants’ rights to expressive
 9     association. As an initial matter, unlike the Boy Scouts or the Jaycees, Defendants are not
10     members-only, nonprofit organizations. Instead, Defendants are for-profit corporations
11     who, as relevant to this lawsuit, employ actors such as Plaintiff, as well as administrative
12     staff, to create television series and films. (Mot. at 17). Speakers do not, of course, “shed
13     their First Amendment protections by employing the corporate form to disseminate their
14     speech.” 303 Creative, 600 U.S. at 594. But unlike in Roberts or Dale, Defendants have
15     not identified any evidence—in the Complaint or otherwise—to substantiate a claim that
16     they employ public-facing actors for the purpose of promoting the “values of respect,”
17     “decency,” “integrity,” or “inclusion.” (Mot. at 11). Accordingly, Defendants’ invocation
18     of the supposedly detrimental effects of Plaintiff’s “mere ‘presence’” as one of Defendants’
19     employees lacks constitutional import. (Id. at 20 (quoting Dale, 530 U.S. at 655–56)).
20           Furthermore, even if Defendants could demonstrate that their employment of actors
21     is a form of expressive association, Plaintiff has plausibly alleged that Defendants
22     terminated her employment to divert attention from criticisms of Defendants’ business
23     dealings and of Disney’s CEO, not to fortify Defendants’ supposed expressive association.
24     (Compl. ¶¶ 97–98). Where, as here, “there are two alternative explanations, one advanced
25     by defendant and the other advanced by plaintiff, both of which are plausible, plaintiff’s
26     complaint survives a motion to dismiss under Rule 12(b)(6).” Starr v. Baca, 652 F.3d
27     1202, 1216 (9th Cir. 2011). Although Defendants claim that the Court must defer to
28     Defendants’ interpretation of whether their “message would be impaired by its association



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 1     with certain other speakers,” (Mot. at 19), this is not the proper standard at a motion to
 2     dismiss stage. Instead, a “[p]laintiff’s complaint may be dismissed only when [the]
 3     defendant’s plausible alternative explanation is so convincing that [the] plaintiff’s
 4     explanation is im plausible.”     Starr, 652 F.3d at 1216 (emphasis in original).          As
 5     Defendants have not met this burden, dismissal based on Defendants’ purported
 6     associational rights is inappropriate.
 7           Finally, as in Roberts, it is unclear at this stage of the litigation whether Defendants
 8     could establish that enforcement of California’s antidiscrimination law imposes burdens
 9     on their associational rights beyond those “necessary to accomplish the State’s legitimate
10     purposes.” Roberts, 468 U.S. at 628. California Labor Code §§ 1101 and 1102 “reinforce
11     the substantial public interest in protecting the ‘fundamental right’ of employees to engage
12     in political activity without interference or threat of retaliation from employers.” Ali v.
13     L.A. Focus Publ’n, 112 Cal. App. 4th 1477, 1487 (2003), disapproved of on other grounds
14     by Reid v. Google, Inc., 50 Cal. 4th 512 (2010). See also Fort v. Civ. Serv. Comm'n of
15     Alameda Cnty., 61 Cal. 2d 331, 335 (1964). Under California law, there is no “doubt that
16     the statutory protection for an employee’s political activity, particularly political speech,
17     inures to the public at large rather than simply to the individual or proprietary interests of
18     the employee or employer.” Ali, 112 Cal. App. 4th at 1487. As stated by the California
19     Supreme Court, “[t]he freedom of the individual to participate in political activity is a
20     fundamental principle of a democratic society and is the premise upon which our form of
21     government is based.” Fort, 61 Cal. 2d at 334. Plaintiff also brings suit under FEHA,
22     which “represent[s] a fundamental public policy decision regarding the need to protect and
23     safeguard the right and opportunity of all persons to seek and hold employment free from
24     discrimination.” Lyle v. Warner Bros. Television Prods., 38 Cal. 4th 264, 277 (2006)
25     (internal quotation marks and citation omitted). To prevail on their defense that their
26     expressive association rights bar Plaintiff’s claims, Defendants must show that any impact
27     on their claimed associational freedoms cannot justify California’s interests in eradicating
28     sex-based discrimination and employer pressure on employee political activity. Roberts,



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 1     468 U.S. at 623 (“Infringements on that right [to associate for expressive purposes] may
 2     be justified by regulations adopted to serve compelling state interests, unrelated to the
 3     suppression of ideas, that cannot be achieved through means significantly less restrictive
 4     of associational freedoms.”). At this stage, Defendants have not made such a showing.
 5           The Court thus denies the Motion insofar as it argues that Defendants’ expressive
 6     association rights bar Plaintiff’s claims.
 7                  2.     Whether Defendants’ Rights to Control Their Speech Bar Plaintiff’s
 8                         Suit
 9           Invoking the concept of “speaker’s autonomy,” as articulated in Hurley, Defendants
10     argue Plaintiff’s claims are barred because, as entities “engaged in expressive
11     communication,” Defendants may “choose to exclude from [their] own communications
12     other speakers” who Defendants believe “would impair [Defendants’] ability to convey
13     [their] own preferred message.” (Mot. at 7–8, 11–12). Specifically, Defendants contend
14     that, if allowed to proceed, Plaintiff’s lawsuit would unconstitutionally interfere with
15     Defendants’ control over The Mandalorian. (Id. at 17). In opposition, Plaintiff contends
16     that she “did not make any effort to alter the message of The Mandalorian” and further
17     objects that “Defendants do not explain how [Plaintiff’s] personal, off-the-job social media
18     comments affected Defendants’ speech.” (Opp. at 11 (emphasis in original)).
19           The Court agrees with Plaintiff that Defendants’ conclusory assertions of
20     impairment do not suffice to establish a First Amendment bar to Plaintiff’s claims,
21     especially in light of Ninth Circuit caselaw that dismissal is appropriate “[o]nly when the
22     plaintiff pleads itself out of court” by “admit[ting] all the ingredients of an impenetrable
23     defense.” Durnford, 907 F.3d at 604 n.8 (citation omitted). As stated previously, it is well-
24     established that television programs, such as The Mandalorian, qualify for First
25     Amendment protection, Schad, 452 U.S. at 65; Joseph Burstyn, 343 U.S. at 501, and
26     Plaintiff does not dispute this issue. The parties disagree, however, on whether, under the
27     First Amendment, Defendants enjoy a right of control over casting decisions such that
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 1     Plaintiff’s antidiscrimination claims are barred.6 (Mot. at 17). Defendants contend that the
 2     “messenger”—here, Plaintiff—“is part of the message,” and that Plaintiff’s lawsuit
 3     improperly impairs Defendants’ right to control the content of The Mandalorian. (Id. at 18
 4     (citation omitted)). As an initial matter, Defendants’ argument focuses narrowly on their
 5     termination of Plaintiff, without addressing her allegations concerning Defendants’ pre- or
 6     post-termination conduct, much of which lacks any obvious expressive or artistic import.
 7     Defendants’ affirmative defense is, for this reason alone, far from “impenetrable.”
 8     Durnford, 907 F.3d at 604 n.8 (citation omitted).
 9           As for the merits of Defendants’ defense, courts outside of this Circuit have
10     recognized a circumscribed right to make casting decisions free from antidiscrimination
11     law in certain, fact-specific circumstances. In Claybrooks v. American Broadcasting
12     Companies, Inc., for example, two African-American men who aspired to be chosen for
13     the titular role in the television show The Bachelor sued the show’s creators, alleging that
14     the show engaged in intentional race discrimination when casting that role to prevent any
15     “exhibition of actual romance between non-whites or whites and people of color.” 898 F.
16     Supp. 2d 986, 990 (M.D. Tenn. 2012) (citation omitted). The court, finding that the
17     plaintiffs sought “to regulate the content of the [s]hows,” concluded that the First
18     Amendment barred their claims. Id. at 999. Importantly, the Claybrooks complaint
19     “explicitly [took] issue with and [sought] to alter the messaging of The Bachelor” by
20     requiring it to alter its allegedly discriminatory hiring practices. Id. (emphasis in original).
21
22     6
        Although Defendants claim that this right would “not extend to employers or employees
23     not engaged in creating speech products,” (Mot. at 8), Defendants have not sufficiently
24     demonstrated that this limitation is a meaningful one. If, as Defendants urge, courts must
       defer to employers’ accounts of what does and does not impair their expression, see (id. at
25     13), there is no reason why an engineer, accountant, secretary, or janitor employed by
26     Defendants—who, by virtue of their employment with Defendants, are at least peripherally
       engaged in creating speech—might not be subject to a similar argument. Similarly, many
27
       entities outside of the entertainment industry create speech in some form, rendering
28     Defendants’ proposed “non-expressive employer[]” category tenuous, at best. (Id. at 8).



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 1     The court also characterized “casting and the resulting work of entertainment” as
 2     “inseparable,” reasoning that any First Amendment protections for the end product must
 3     also apply to the casting process. Id.
 4           Moore v. Hadestown Broadway Limited Liability Company concerned facts
 5     somewhat closer to Plaintiff’s claims. --- F. Supp. 3d ---, No. 23-cv-4837 (LAP), 2024
 6     WL 989843 (S.D.N.Y. Mar. 7, 2024). There, the plaintiff, a Black woman hired as a
 7     member of the chorus in the Broadway production of Hadestown, brought suit for alleged
 8     racial discrimination and retaliation after she was terminated from her position. Id. at *2.
 9     At the time the plaintiff joined the production, Hadestown had employed an all-Black
10     chorus with white lead performers. Id. at *1. The producers of the show, sensitive about
11     conveying a “white savior story,” decided to change the racial composition of the chorus
12     to avoid such connotations. Id. Immediately after the producers announced this change,
13     the plaintiff made two complaints regarding racial discrimination she experienced in the
14     production. Id. at *2. The plaintiff was then terminated from Hadestown, and her role was
15     filled by a white actress. Id. Like Defendants, Hadestown’s producer asserted a First
16     Amendment defense to the plaintiff’s claims. Id. at *15.
17           Interpreting the plaintiff’s complaint, the court concluded that Hadestown “was
18     making its casting decisions with an eye toward how the racial composition of the
19     Musical’s cast affected the story Hadestown was telling on-stage.”               Id. at *16.
20     Accordingly, the court dismissed the plaintiff’s claims for racial discrimination. Id. at *17.
21     The court did not, however, apply a First Amendment defense to the plaintiff’s claims for
22     retaliation, reasoning that there was no basis upon which to conclude that plaintiff’s
23     allegedly retaliatory discharge “was related in any way to the ‘inherently expressive’
24     artistic decisions [the defendant] ma[de] with respect the cast it puts on stage.” Id. at *20.
25     “Extending Defendant’s First Amendment rights to Plaintiff’s retaliation claims,” the court
26     reasoned, “would impermissibly enable Defendant to terminate any employee who
27     engaged in protected activity—such as complaining about working conditions—under the
28     auspice of its ‘creative decisions.’” Id. at *21.



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 1            Within this Circuit, one court has rejected a broad First Amendment claim to
 2     immunity over casting decisions in circumstances similar to Moore. In that case, Rowell
 3     v. Sony Pictures Television, Inc., the creators of the soap opera The Young and the Restless
 4     argued that a plaintiff’s suit over their refusal to rehire her after she advocated for more
 5     racially diverse casting was barred by the First Amendment. No. LA CV15-02442 JAK
 6     (AGRx), 2016 WL 10644537, at *10 (C.D. Cal. June 24, 2016), aff’d, 743 F. App’x 852
 7     (9th Cir. 2018). The plaintiff in Rowell, an actress who had performed on the show for
 8     nearly two decades, alleged that the defendants decided not to rehire her “in retaliation for
 9     engaging in protected speech,” not due to discrimination in the casting process. Id. (citation
10     omitted).   The court thus concluded that the plaintiff’s claims were unrelated to
11     “Defendants’ creative vision for their programs” and did not raise any First Amendment
12     concerns. Id. (citation omitted).
13            Here, in contrast to Claybrooks and Moore, Plaintiff’s Complaint does not take issue
14     with the message or content of The Mandalorian. She does not allege, for example, that
15     she was fired because Defendants wished to have fewer female roles in the show, or that
16     Defendants made an artistic choice to modify the show’s cast to include only liberal-
17     leaning actors. Instead, Plaintiff contends that Defendants fired her in retaliation for off-
18     the-job political speech after attempting to make her renounce those comments and “re-
19     educate” her. (Compl. ¶¶ 30, 75, 77). To be sure, the First Amendment may place certain
20     limitations on the remedy Plaintiff may seek for her claims. In particular, although
21     California Labor Code § 98.6(b) entitles employees to reinstatement, it is far from clear to
22     this Court that such relief would, in this context, comport with the First Amendment. See
23     Rowell, 2016 WL 10644537, at *10 (suggesting that an order requiring a specific casting
24     decision “could be deemed to impinge Defendants’ right to control creative content”). This
25     matter is distinct, however, from Defendants’ liability under California antidiscrimination
26     law.
27            Defendants’ Motion also misconstrues the proper framework for evaluating factual
28     allegations within complaints. Defendants repeatedly ask the Court to disregard Plaintiff’s



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 1     accounting of her conduct as “not relevant,” instead urging the Court to defer to
 2     Defendants’ claim that they viewed Plaintiff’s speech as compromising their expression.
 3     (Mot. at 19–20). On a motion to dismiss, however, courts “construe the pleadings in the
 4     light most favorable to the nonmoving party.” Manzarek, 519 F.3d at 1031. Although
 5     Defendants might, with a more developed factual record, be able to prevail on their First
 6     Amendment defense on some or all of Plaintiff’s theories of termination-related liability,
 7     the Complaint lacks allegations to support Defendants’ assertion that Plaintiff’s “presence
 8     as a prominent actor on The Mandalorian interfered with [Defendants’] choice not to
 9     produce a show associated with her beliefs.” (Mot. at 19).
10           Indeed, the procedural posture of this case, as well as its distinguishable facts and
11     issues, stand in stark contrast to other cases Defendants cite in support of their claimed
12     First Amendment defense, such as Redgrave v. Boston Symphony Orchestra, Inc., 855 F.2d
13     888 (1st Cir. 1988), and Hurley. Redgrave concerned the Boston Symphony Orchestra’s
14     (“BSO”) decision to cancel a series of planned performances with actress Vanessa
15     Redgrave after receiving calls from subscribers and other community members protesting
16     Ms. Redgrave’s support for the Palestine Liberation Organization. Redgrave, 855 F.2d at
17     890–91. At the conclusion of the jury trial, the jury awarded Redgrave $100,000 in
18     consequential damages but, on the BSO’s motion for judgment notwithstanding the verdict,
19     the district court held that Redgrave could not recover consequential damages due to First
20     Amendment limitations. Id. at 890. On appeal, in dicta, the First Circuit discussed at
21     length its “grave concerns” about the “conflict of rights” created by Ms. Redgrave’s
22     Massachusetts civil rights claim. Id. at 904. Ultimately, however, the court resolved the
23     issue on state law grounds, concluding that Massachusetts law did not give rise to a cause
24     of action for “refusing to perform an artistic work.” Id. at 912. Given the many differences
25     between Redgrave and this lawsuit, including in governing law and its procedural posture
26     as a post-trial appeal, Redgrave has little persuasive value at this stage of the litigation.
27           Hurley is similarly unhelpful to Defendants. In Hurley, the parade organizers sought
28     to prevent certain marchers from appearing as a “parade unit carrying its own banner,”



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 1     which would have “affect[ed] the message conveyed by the private organizers.” Hurley,
 2     515 U.S. at 572. After a four-day bench trial, the state court ruled that the marchers were
 3     entitled to participate in the parade on the same terms and conditions as other participants,
 4     and this ruling was affirmed by Supreme Judicial Court of Massachusetts. Irish-Am. Gay,
 5     Lesbian & Bisexual Grp. of Bos. v. City of Bos., 418 Mass. 238, 242 n.6, 251 (1994), rev’d
 6     sub nom. Hurley, 515 U.S. 557 (1995). Due to this ruling’s impact on the expressive
 7     content of the parade, however, the Supreme Court concluded that forcing the organizers
 8     to accept the marchers’ application would “violate[] the fundamental rule of protection
 9     under the First Amendment, that a speaker has the autonomy to choose the content of his
10     own message.” Id. at 573.
11           Here, in contrast, Plaintiff’s Complaint alleges that Defendants terminated her from
12     The Mandalorian not to control the show’s content but as a form of retaliation for holding
13     disfavored political beliefs and for objecting to conduct she perceived as harassment.
14     (Compl. ¶¶ 30–40).
15           Defendants also cite two Ninth Circuit cases for the proposition that employers may
16     not be held liable “for declining to express themselves through employees the organizations
17     did not want to associate with their expressive messages.” (Mot. at 14). Upon examination
18     of the cases in question, the Court concludes this characterization is inaccurate. Green v.
19     Miss United States of America, LLC is not an employment lawsuit but a case arising under
20     Oregon public accommodations law. 52 F.4th 773, 777 (9th Cir. 2022). There, the
21     plaintiff, a transgender woman, sought admission to the Miss United States of America
22     (“Miss USA”) beauty pageant, contending that the pageant’s “natural born female”
23     requirement was an unlawful form of gender identity discrimination. Id. at 778–79. On
24     appeal, the Ninth Circuit concluded that the pageant was, like the parade in Hurley, a blend
25     of performance and visual expression entitled to First Amendment protection. Id. at 780.
26     In another similarity to Hurley, the court concluded that, “[g]iven a pageant’s competitive
27     and performative structure, it is clear that who competes and succeeds in a pageant is how
28     the pageant speaks.” Id. (emphasis in original). In light of this lack of “daylight between



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 1     speech and speaker,” the Ninth Circuit concluded that the plaintiff’s suit impermissibly
 2     sought to change Miss USA’s speech and affirmed the trial court’s grant of summary
 3     judgment. Id. at 781, 802–03. As discussed at length above, the Court cannot conclude,
 4     based on Plaintiff’s Complaint
 5           In McDermott v. Ampersand Publishing, LLC, the Ninth Circuit affirmed the trial
 6     court’s denial of injunctive relief that would have required a newspaper to reinstate eight
 7     employees it discharged during a union dispute. 593 F.3d 950, 955 (9th Cir. 2010).
 8     Reasoning that these eight employees were “bound to affect what gets published,” the
 9     Ninth Circuit held that, “[t]o the extent the publisher’s choice of writers affects the
10     expressive content of its newspaper, the First Amendment protects that choice.” Id. at 962.
11     Importantly, however, the union’s “primary demand [was] for the publisher to cede control
12     of her newspaper’s content,” raising First Amendment concerns not implicated by more
13     typical wage and hour demands. Id. at 963. The court’s First Amendment concern arose
14     not because the newspaper did not want to associate its speech with disfavored employees
15     but because the newspaper and staff were engaged in a struggle for editorial control.
16           Finally, after the parties’ hearing, Defendants filed a Notice of Supplemental
17     Authority asserting that their position is supported by the recently decided case Moody v.
18     NetChoice, LLC, --- S.Ct. ---, No. 22-277, 2024 WL 3237685 (U.S. July 1, 2024). Unlike
19     Moody, however, which concerned social media platforms, Plaintiff’s lawsuit concerns a
20     scripted television show, not a “forum” or “curated compilation of speech originally
21     created by others.” Id. at *10. The Court does not dispute Defendants’ general right to
22     control their expression. But Moody does not address Defendants’ argument here: that
23     employers who create expressive content are immune from liability under state
24     antidiscrimination law when they wish to terminate an employee involved in the creation
25     of that content.
26           The Court thus denies Defendants’ Motion insofar as it argues that their right to
27     control their speech bars Plaintiff’s claims.
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 1     IV.   CONCLUSION
 2           In sum, Defendants have failed to set forth an “impenetrable defense” under the First
 3     Amendment. Durnford, 907 F.3d at 604 n.8 (citation omitted). Accordingly, for the
 4     foregoing reasons, the Court DENIES Defendants’ Motion.
 5
 6           IT IS SO ORDERED.
 7
 8     DATED: July 24, 2024
 9                                                       HON. SHERILYN PEACE GARNETT
10                                                       UNITED STATES DISTRICT JUDGE

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